
Upon consideration of the Petition for Reinstatement of Raymond Jerome Vanzego, Jr. and the response filed thereto by Bar Counsel, in the above captioned case, it is this 16th day of November, 2017,
ORDERED, by the Court of Appeals of Maryland, that the petition be, and it is hereby, GRANTED, and the petitioner, Raymond Jerome Vanzego, Jr., be, and is hereby, reinstated to the practice of law in this State; and it is further
ORDERED, that the Clerk of the Court shall replace the name of Raymond Jerome Vanzego, Jr. upon the register of attorneys entitled to practice law in this State and certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this state.
